Case 2:19-cr-00119-JDC-KK Document 23 Filed 08/07/19 Page 1 of 2 PageID #: 35




                     UNITED STATES DISTRICT COURT

                     WESTERN DISTRICT OF LOUISIANA

                          LAKE CHARLES DIVISION


UMTED STATES OF AMERICA                     *       CRIMINAL NO. 2: 19-cr-001 19
                                            *
vs.                                         *       JUDGE CAIN
                                            *
ROBERT I{AMMAC                              *       MAGISTRATE JUDGE KAY


                          BTLL OF INFORMATION

THE UNITED STATES ATTORNEY CHARGES:


                                 COUNT ONE

                 Deprivation of Rights Under Color of Law
                                [18 U.S.C. S 2421

      On or about May 8, 20L7, in Calcasieu Parish in the Western District of

Louisiana, the defendant, ROBERT HAMMAC, while acting under color of law as

an officer of the Lake Charles Police Department, willfully deprived G.T. of the

right, secured by the Constitution and laws of the United States, to be free from

unreasonable seizures, which includes the right to be free from a law enforcement

officer's use of unreasonable force during an arrest. Specifically, the defendant

repeatedly punched G.T. in the head while G.T. was not presenting a threat to

himself or any other person. The commission of this offense resulted in bodily
Case 2:19-cr-00119-JDC-KK Document 23 Filed 08/07/19 Page 2 of 2 PageID #: 36




injury to G.T., all in violation of Title 18, United States Code, Section 242. 118

u.s.c. s 2421.


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